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      /s/ Angela C. Pattison                            07 29   2024
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   (PHILADELPHIA)

 IN RE:
                                                   CHAPTER 13
 Roslyn R. Haines
                                                   CASE NO.: 19-13838-amc
          Debtor(s)



                                CERTIFICATE OF SERVICE
      I hereby certify that service was made upon all interested parties, indicated below of (i)
Response to Notice of Final Cure of NewRez LLC dba Shellpoint Mortgage Servicing in the
manner indicated below on July 29, 2024:


Roslyn R. Haines                                     Office of the U.S. Trustee
6129 N. Warnock Street                               Robert N.C. Nix Federal Building
Philadelphia, PA 19141                               Suite 320
Debtor                                               Philadelphia, PA 19107
Via Regular Mail                                     United States Trustee
                                                     Via ECF
Michael A. Cibik
Cibik Law, P.C.                                      Kenneth E. West
1500 Walnut Street                                   Office of the Chapter 13 Standing Trustee
Suite 900                                            1234 Market Street – Suite 1813
Philadelphia, PA 19102                               Philadelphia, PA 19107
Counsel for Debtor                                   Chapter 13 Trustee
Via ECF                                              Via ECF


                                                     By: /s/ Angela C. Pattison
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                                                     Attorney ID 307611
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